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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

DAVID MCDERMID, NO. EDCV 15-1853-JGB (AS)

Plaintiff, ORDER ACCEPTING FINDINGS,
Vv. CONCLUSIONS AND RECOMMENDATIONS
BRIAN VILLANUEVA, et. al., OF UNITED STATES MAGISTRATE

Defendants. JUDGE

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Pursuant to 28 U.S.C. section 636, the Court has reviewed the
Third Amended Complaint, all of the records herein, and the Report and
Recommendation of United States Magistrate Judge, to which no
objections were filed. Accordingly, the Court accepts the findings,

conclusions and recommendations of the Magistrate Judge.

IT IS ORDERED that Judgment shall be entered dismissing this
action against Defendant Esquetini with prejudice, and dismissing this
action against Defendant Villanueva without prejudice.

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IT IS FURTHER ORDERED that the Clerk serve copies of this Order

and the Judgment herein on Plaintiff at his current address of record.

LET JUDGMENT BE ENTERED ACCORDINGLY.

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U) state G. BERNAL
onrrl STATES DISTRICT JUDGE

DATED: April 17, 2020

 

 
